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10                        UNITED STATES DISTRICT COURT
11                     SOUTHERN DISTRICT OF CALIFORNIA
12
       UNITED STATES OF AMERICA,                    Case No. 19-mj-24656-MJS-BAS-1
13
                                     Plaintiff,     ORDER DENYING APPEAL
14
                                                    FROM MAGISTRATE JUDGE
15           v.                                     DECISION AND AFFIRMING
16                                                  CONVICTION AND SENTENCE
       FRANCISCO JAVIER GARCIA-
       RODARTE,                                     (ECF No. 15)
17
                                   Defendant.
18

19         On December 30, 2019, Defendant Francisco Javier Garcia-Rodarte pled
20   guilty without a plea agreement to attempted entry into the United States in violation
21   of Title 8 U.S.C. § 1325(a)(1) and was immediately sentenced to time served. (ECF
22   Nos. 13, 18.) This appeal followed. (ECF No. 15.)
23         Defendant argues his conviction should be reversed because: (1) Section 1325
24   is facially unconstitutional in light of the Supreme Court’s decision in Sessions v.
25   Morales-Santana; and (2) Section 1325 violates the non-delegation doctrine and is
26   void for vagueness. (ECF No. 20.) For the reasons stated below, the Court disagrees.
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 1         1.     Morales-Santana Does Not Render Section 1325 Unconstitutional
 2         Defendant argues that Sessions v. Morales-Santana, 137 S. Ct. 1678 (2017),
 3   renders Section 1325 unconstitutional. This Court agrees with those courts that have
 4   held Morales-Santana is inapplicable to Section 1325. See, e.g., United States v.
 5   Ramirez-Ortiz, 370 F. Supp. 3d 1151, 1156 (S.D. Cal. 2019) (“Morales-Santana does
 6   not address the constitutionality of 8 U.S.C. § 1325, and the severability clause of the
 7   Immigration and Nationality Act allows for offending provisions to be stricken
 8   without affecting or invalidating the whole.”); see also United States v. Duffy, 773 F.
 9   App’x 947, 949 (9th Cir. 2019) (unpublished) (“The severability clause of the
10   Immigration and Nationality Act (‘INA’) dictates that the remainder of [the Act] was
11   not affected by Morales-Santana.”).
12         This Court adopts the reasoning in those cases and finds that Section 1325 is
13   not unconstitutional.
14         2.     The Statute Does Not Violate the Non-Delegation Doctrine, Nor Is
                  It Unconstitutionally Vague
15

16         Section 1325 makes it a crime for a non-citizen to enter or attempt to enter the
17   United States at a time or place “other than as designated by immigration officers.”
18   Defense counsel argues this violates the non-delegation doctrine because Congress
19   has delegated to immigration officers the ability to determine the scope of a criminal
20   provision without providing the executive branch official with an intelligible
21   principle to guide the official’s discretion.
22         Congress may not delegate to another branch “powers which are strictly and
23   exclusively legislative.” Gundy v. United States, 139 S. Ct. 2116, 2123 (2019).
24   However, Congress “may confer substantial discretion on executive agencies to
25   implement and enforce laws.” Id. The Supreme Court has acknowledged “that in
26   our increasingly complex society, replete with ever changing and more technical
27   problems, Congress simply cannot do its job absent an ability to delegate power under
28   broad general directives.” Mistretta v. United States, 488 U.S. 361, 372 (1989).

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 1   Thus, “a statutory delegation is constitutional as long as Congress ‘lay[s] down by
 2   legislative act an intelligible principle to which the person or body authorized to
 3   [exercise the delegated authority] is directed to conform.’” Gundy, 139 S. Ct. at 2123
 4   (alterations in original) (quoting Mistretta, 488 U.S. at 372).
 5         This Court agrees with United States v. Gonzalez-Pena, 445 F. Supp. 3d 1021,
 6   1029–30 (S.D. Cal. 2020), that “Defendant’s non-delegation argument is based on
 7   the flawed premise that any immigration officer can arbitrarily designate ports of
 8   entries.” As explained in Gonzalez-Pena:
 9         Congress requires that aliens seeking lawful entrance to the United
10         States do so at a port of entry. See United States v. Corrales-Vazquez,
           931 F.3d 944, 946 (9th Cir. 2019); United States v. Aldana, 878 F.3d
11         877, 882 (9th Cir. 2017). Ports of entry can only be designated or de-
12         designated by the Secretary of Homeland Security subject to the
           Administrative Procedures Act. See 8 C.F.R. § 100.4(a). Ports of entry
13         also necessarily include facilities, staffed by immigration officials that
14         are set up to accept applications for admission. Aldana, 878 F.3d at 882.
           To interpret Section 1325(a) to permit a border patrol agent to designate
15         a portion of the border fence “on a whim” is in direct conflict with
16         Congress’s clear statutory scheme.

17   Id. Therefore, this Court agrees that Section 1325 making it illegal for an individual
18   to enter the United States other than a place designated by immigration officers does
19   not violate the non-delegation doctrine.
20         Furthermore, the statute is not unconstitutionally vague. “A statute can be
21   impermissibly vague for either of two independent reasons. First, if it fails to provide
22   people of ordinary intelligence a reasonable opportunity to understand what conduct
23   it prohibits . . . . Second, if it authorizes or even encourages arbitrary and
24   discriminatory enforcement.”       Hill v. Colorado, 530 U.S. 703, 732 (2000);
25   Papachristou v. City of Jacksonville, 405 U.S. 156, 162 (1973). In particular, a
26   statute is vague if it “makes criminal activities which by modern standards are
27   normally innocent,” or if it sets a net so large that law enforcement is able to pick and
28   choose who to arrest. Papachristou, 405 U.S. at 163.

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 1           Section 1325 provides adequate notice to people of reasonable intelligence as
 2   to what is prohibited. Individuals must enter the United States through a designated
 3   Port of Entry. Failure to do so by one who is not a citizen of the United States is a
 4   violation. There is no suggestion that the statute encourages or even allows arbitrary
 5   or discriminatory enforcement. Therefore, the argument that the statute is vague must
 6   fail.
 7                                     CONCLUSION
 8           For the reasons stated above, Defendant’s appeal from the Magistrate Judge’s
 9   decision is DENIED. (ECF No. 15.) Defendant’s conviction and sentence are
10   AFFIRMED.
11           IT IS SO ORDERED.
12

13   DATED: October 20, 2020
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